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 Attorneys for Applicant HMD Global Oy


                                 UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA


                                     )                        Case No. 3:24-mc-02144
                                     )
 IN RE: EX PARTE APPLICATION OF      )                        RULE 7.1 DISCLOSURE
 HMD GLOBAL OY FOR AN ORDER          )                        STATEMENT OF HMD GLOBAL OY
 UNDER 28 U.S.C. § 1782 TO           )
 OBTAIN DISCOVERY FOR USE IN         )
 FOREIGN PROCEEDINGS                 )
 ___________________________________ )
         Under Rule 7.1 of the Federal Rules of Civil Procedure and Civil Local Rule 40.2,
 HMD Global Oy makes this corporate disclosure statement: HMD Global Oy has no
 parent corporation. No publicly held corporation owns 10% or more of HMD Global
 Oy’s stock. HMD Global Oy is not aware of any publicly held corporation indirectly
 owning 10% or more of its stock.
 Date: December 30, 2024                                  Respectfully submitted,

                                                          ___________________________________
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                                             RULE 7.1 DISCLOSURE STATEMENT OF HMD GLOBAL OY
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                                             RULE 7.1 DISCLOSURE STATEMENT OF HMD GLOBAL OY
